 Case 22-14766-SMG   Doc 101   Filed 01/27/23   Page 1 of 27




                           U.S. BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                           WEST PALM BEACH, FL

                           CASE NO. 22-bk-14766
                           JUDGE SCOTT MAX GROSSMAN
In RE: Ralph L. Sanders,           )
                                   )
               Debtor.             )
                                   )
---------------------------
                      United States Bankruptcy Court
                      Southern District of Florida
                      Flagler Waterview Building
                      1515 North Flagler Drive, #801
                      West Palm Beach, FL 33401
                      Thursday, December 8, 2022
     WHEREUPON, the proceedings in the above-
entitled cause came on for hearing before the
Honorable SCOTT MAX GROSSMAN, Presiding Judge.


APPEARANCES:               MICHAEL J. BROOKS, ESQ.
                           Appearing on behalf of the
                           Debtor
                           PETER KELLY, ESQ.
                           Appearing on behalf of
                           Specialized Loan Servicing
                           JOANNA TEMPONE, ESQ.
                           Appearing on behalf of
                           Robin Weiner, Chapter 13
                           Trustee

Proceedings recorded by electronic sound recording,
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 Case 22-14766-SMG   Doc 101   Filed 01/27/23   Page 2 of 27




                                                                 1-2
                         I N D E X
                                                               PAGE:
ATTORNEY BROOKS’S EMERGENCY MOTION
 TO WITHDRAW - GRANTED                                           21

THIRD AMENDED PLAN CONFIRMED                                     23
ATTORNEY KELLY'S MOTION FOR
 RELIEF FROM STAY - GRANTED                                      25
     Case 22-14766-SMG   Doc 101    Filed 01/27/23   Page 3 of 27



                                                                    1-3
1    WHEREUPON:
2                The proceedings commenced as follows:
3                MS. TEMPONE:        Finally, Your Honor, we
4    have Ralph Levi Sanders, Jr. 22-14766.
5                THE COURT:        Okay.    Sanders.      Let me take
6    appearances first.       Mr. Brooks?
7                MR. BROOKS:        Michael Brooks for the
8    debtor.
9                THE COURT:        Okay.
10               MR. BROOKS:        Mr. Sanders is also on the
11   phone.
12               THE COURT:        Yes.    Mr. Sanders, you're
13   opposing his motion to withdraw, so go ahead and
14   state your appearance, sir.
15               You're on mute.          Go ahead and unmute
16   yourself.
17               The icon is showing you with a muted
18   telephone connection for what that's -- there you
19   go.    Good.
20               MR. SANDERS:        Okay.    I was
21   (indiscernible) my phone because the computer
22   freezes up every so often.
23               THE COURT:        All right.        State your name,
24   sir.
25               MR. SANDERS:        Ralph Levi Sanders Jr.


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     Case 22-14766-SMG   Doc 101    Filed 01/27/23   Page 4 of 27



                                                                    1-4
1                THE COURT:        Okay.    Other appearances.
2    Mr. Kelly?
3                MR. KELLY:        Yes.    Good afternoon, Your
4    Honor.   Peter Kelly, K-E-L-L-Y, appearing on
5    behalf of Specialized Loan Servicing.
6                THE COURT:        Okay.    Ms. Tempone?
7                MS. TEMPONE:        Joanna Tempone on behalf
8    of Robin Weiner, the Chapter 13 Trustee.
9                THE COURT:        Okay.    Other appearances?
10   Any other appearances in Sanders?
11         (No audible response)
12               THE COURT:        All right.        Mr. Sanders, go
13   ahead and mute.      Please mute yourself again.
14   There's some -- I don't know, I see a fan on your
15   video.   I don't know if that's causing the noise,
16   but there's a loud noise.             But if you just mute
17   yourself, and then I'll call on you when I need
18   you to speak.
19               All right.        So, Ms. Tempone, there are a
20   number of matters on the docket, but what's set
21   for today, I believe, is the emergency motion to
22   withdraw, and I think that's the only thing set.
23   Mr. Brooks's fee application is not set and the
24   pending stay relief motion is not yet set.
25               So tell me where things stand from your


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     Case 22-14766-SMG   Doc 101    Filed 01/27/23   Page 5 of 27



                                                                       1-5
1    perspective, Ms. Tempone, then I'll hear Mr.
2    Brooks's motion to withdraw.
3                MS. TEMPONE:        Your Honor, I believe I
4    have -- oh, has the amended -- the application
5    been reset for hearing?          I'm sorry.
6                THE COURT:        I don't -- it's filed, but I
7    don't see --
8                MS. TEMPONE:        Well, we had reached out
9    to -- just so Your Honor is aware.
10               THE COURT:        Yes.
11               MS. TEMPONE:        We reached out to Mr.
12   Brooks because it was a -- it appeared to be a
13   calculation error that he had.             It was --
14               MR. BROOKS:        A typo.
15               MS. TEMPONE:        -- a typographical error
16   that he amended the fee application just to reduce
17   the amount.
18               THE COURT:        Oh, okay.      Oh, okay.         And I
19   do see at 63 there was a notice of hearing on the
20   original fee application.            Okay.      So we have that
21   as well as the motion to withdraw, correct?
22               MS. TEMPONE:        Yes.    And just so Your
23   Honor is aware, which I'm sure you already are,
24   there is a motion for relief from stay.                 It was
25   filed by negative notice by Mr. Kelly's client,


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     Case 22-14766-SMG   Doc 101    Filed 01/27/23   Page 6 of 27



                                                                     1-6
1    probably because the property was treated as
2    direct under the third amended plan.                However,
3    because of Mr. Sanders's responses in filings that
4    he doesn't agree to that, he no longer -- or he
5    never did agree to that treatment, there hasn't
6    been an order entered and that's why Mr. Kelly is
7    here today.
8                But for purposes -- if we can address, I
9    guess, confirmation quickly, Your Honor, because
10   at this time we probably don't have a resolution.
11   The third amended plan as filed would have been
12   recommended for confirmation if Mr. Brooks
13   prevailed on his application for compensation.
14               But the property -- the debtor's
15   homestead is treated as direct under that proposed
16   plan, and Mr. Sanders, in correspondence and by
17   his filings, has made it known that he does not
18   agree with that treatment at this time.                 So we
19   cannot -- the debtor is current under that third
20   amended plan, but at this time, we cannot
21   recommend confirmation as there appears to be a
22   conflict.
23               THE COURT:        Okay.    All right.
24               Mr. Brooks.
25               MR. BROOKS:        Your Honor, this is a


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     Case 22-14766-SMG   Doc 101    Filed 01/27/23   Page 7 of 27



                                                                     1-7
1    really complicated case.           That has nothing to do
2    with the bankruptcy court, but it's a very
3    complicated case.
4                Mr. Sanders bought this -- bought this
5    property, and apparently he bought a property that
6    had 20,000 square feet.          It turns out that when
7    the original survey was done, which I saw, that
8    Mr. Sanders got to me though microfiche, it's
9    unledgible and -- but it does look like all the
10   other surveys that were done, that we can't tell
11   what part of the property that Mr. Sanders owns.
12               He has numerous setback violations from
13   the City of Plantation.          I don't even know how
14   much money is owed on those -- on those
15   violations.    That wasn't listed in the original
16   schedules.    I did not file this plan.              It was an
17   MMM plan that had no chance of becoming -- or an
18   agreement coming to fruition.
19               The debtor is behind almost $300,000.
20   He has a hole in his roof, so he can't even get
21   insurance for the roof for windstorm.                He needs
22   flood insurance.      It's been force placed for
23   years.
24               But the issues that he has -- he has
25   title insurance, and the title insurance company


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     Case 22-14766-SMG   Doc 101    Filed 01/27/23   Page 8 of 27



                                                                    1-8
1    who also relied on the survey -- the survey, by
2    the way, says it relied on the prior survey when
3    preparing the present survey for his purchase.                 So
4    everybody relied on the prior surveys.                 All of the
5    surveys that were done since 1966 relied on the
6    prior surveys.      So -- which made this incredibly
7    complicated and every buyer signed a warranty
8    deed, so they're involved in this as well.
9                I've spoken with Mr. Kelly.              We all
10   agree that -- and this can't be an adversary in
11   bankruptcy court because bankruptcy court doesn't
12   deal with title issues, and the title insurance
13   company has reached out to Mr. Sanders and asked
14   him why he thinks that he only has 14,000 square
15   feet instead of 20,000 square feet, or 12,000
16   instead of 20.
17               His response was not -- it didn't really
18   respond to the letter from the -- or the email
19   from the title insurance company.               But I think
20   that if the bank, who needs to bring in the title
21   insurance company does, Mr. Sanders can piggyback
22   on that lawyer who's going to represent the title
23   insurance company because -- in state court,
24   because it's the same issue and they both are
25   insured.


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     Case 22-14766-SMG   Doc 101    Filed 01/27/23   Page 9 of 27



                                                                     1-9
1                So like I said to Mr. Sanders, an MMM
2    was never going to work.           He's on a fixed income,
3    $300,000 in arrears, plus a $600,000 payoff.                   It's
4    just -- it's just too much money and was never
5    going to happen.
6                The only way this plan can be confirmed
7    is to take that house out.           And the only benefit
8    that Mr. Sanders can get is if the title insurance
9    company appoints a lawyer to represent him in the
10   state court action because the -- our book and
11   page does not -- it encompasses more property than
12   the debtor has, maybe.
13               So it took me forever to figure this
14   out.   So Mr. Sanders has emailed me no fewer than
15   100 times on these issues that I told him are not
16   bankruptcy issues.       There's nothing I can do with
17   an MMM or a cure.      He can't afford it.             No one is
18   going to do an MMM with a hole in the roof.
19   You've got to have your own -- your own wind
20   storm, and he can't get wind storm with a hole in
21   his roof.
22               So an MMM is not going to work, and it
23   wouldn't matter anyway.          There's so many title
24   issues on this.      And more than title issues, he's
25   got -- he's got violations.            He's got a pool that


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     Case 22-14766-SMG   Doc 101   Filed 01/27/23    Page 10 of 27



                                                                         1-10
1     is encroaching on the setbacks.               He's got --
2     everything with this house is wrong.                The whole
3     house -- the whole neighborhood has to be
4     demolished.    So I mean, this is -- from the
5     original plat, they did it wrong.               I don't know
6     how they got it through, but the whole thing is
7     wrong and it's really, really complicated.
8                And the only thing that can be done is
9     going into state court, getting the title
10    insurance company to have a lawyer for Mr.
11    Sanders.   He can piggyback on the -- on the bank's
12    title insurance lawyer.         They're going to
13    represent both.      The mortgage has to be paid.                  The
14    house has to be destroyed.          Mr. Sanders, I don't
15    know if his damages are his initial purchase price
16    or the present value of the house, or what it
17    would be if there was no hole in the roof.                     I
18    don't know.    I don't know -- I have no idea how
19    the resolution of this in state court is going to
20    work.
21               The only thing I know is that on his
22    schedules he had $33,000 of assets.               He had 24,000
23    in the bank and 9,000 of other assets that were
24    listed when the case was filed.               Not by me.        I --
25    the only thing I did was amend Schedule B to add


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     Case 22-14766-SMG   Doc 101   Filed 01/27/23   Page 11 of 27



                                                                    1-11
1     the $24,000 bank account, which was not listed.
2                 So I -- all his unsecured creditors
3     totaled about $6,400.        So I made this 100 percent
4     plan, I took the amount of money that he paid in,
5     and obviously we can't skip months so those were
6     paid the first 2 months.         That's when I got
7     involved.    And then it's a $400 payment from month
8     3 to 60, and there is nothing else that can be
9     done in this case.
10                He cannot convert to a Chapter 7 because
11    he has -- even if he spent this $24,000, he's
12    going to have issues with the Chapter 7 trustee
13    with the other 9, and I mean, some of the things
14    on there are valued way too high.              Like he has
15    Disney paraphernalia that he listed a value of
16    $1,500 for, and obviously that's not worth $1,500.
17    But I mean, there's nothing I can do about that
18    now.   And the $24,000 being spent in over 6 months
19    is unlikely, because he hasn't spent any                money on
20    a mortgage or really anything else.              I don't know
21    what happened with that money and he's going to
22    have issues with the Chapter 7 trustee.
23                So I would not recommend that he convert
24    to a Chapter 7.      My recommendation is if he wants
25    to continue with this bankruptcy, continue with


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     Case 22-14766-SMG    Doc 101   Filed 01/27/23    Page 12 of 27



                                                                        1-12
1     the 100 percent plan or dismiss it.                   I mean, there
2     have been two other cases, and when I got -- when
3     I got involved in this case, the trustee's
4     recommendation was dismiss this case.                   I said,
5     I'll fix everything, and I fixed everything in a
6     weekend once I figured out that these aren't
7     bankruptcy issues.
8                So I'm dealing with the unsecured
9     creditors that have filed claims and the bar date
10    is passed, and LS -- LS70 what?
11               UNIDENTIFIED SPEAKER:               72.
12               MR. BROOKS:         LS72 is filed, that we
13    reviewed the claims, everything was done, and
14    that's all I can do.
15               THE COURT:         Okay.   And I appreciate all
16    you've done.       I appreciate that update.               I
17    appreciate the time you took to digest what sounds
18    like an incredibly complicated title problem.
19               So now onto the merits of your motion to
20    withdraw, which I read and I recognize there's
21    only so much you can tell me on -- you know, on
22    the record without betraying your client's
23    confidences, but given what you've just said, tell
24    me why you want to withdraw.
25               MR. BROOKS:         Well, I have told Mr.


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     Case 22-14766-SMG    Doc 101   Filed 01/27/23   Page 13 of 27



                                                                     1-13
1     Sanders everything that I have told you.                 He is
2     threatening to file a bar complaint against me for
3     whatever reason, I don't know.             He doesn't believe
4     anything I'm saying.          He won't take my advice.
5     He's -- I've asked him no -- to not email me
6     anymore.   I've probably gotten 20 emails since
7     then.   I've gotten two since we've been on the --
8     on today's -- at today's hearing this afternoon.
9                I'm done.       I'm just done.
10               THE COURT:         Okay.   All right.
11               MR. BROOKS:         I mean, his plan is
12    confirmable.       He can either take it or leave it.
13               THE COURT:         Okay.   All right.       Ms.
14    Tempone, I'll hear from Mr. Sanders, but do you
15    have any position on the motion to withdraw?
16               MS. TEMPONE:         No, Your Honor, but should
17    -- are you going to consider the amended fee
18    application?
19               THE COURT:         Do you have any position on
20    the amended fee applications?
21               MS. TEMPONE:         The only --
22               THE COURT:         Or if I deny confirmation
23    then, is it moot or do I rule on that anyway?
24               MS. TEMPONE:         Oh, it would be moot if
25    confirmation --


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     Case 22-14766-SMG   Doc 101   Filed 01/27/23   Page 14 of 27



                                                                    1-14
1                MR. BROOKS:        It would be moot.
2                MS. TEMPONE:        -- unless Mr. Brooks --
3                MR. BROOKS:        We're vested.
4                MS. TEMPONE:        -- requests to go forward.
5     He would -- despite the -- you wouldn't receive --
6     well, if Mr. Brooks want -- was trying to receive
7     all of his fees, he would need to go forward on
8     this motion, otherwise he would only receive under
9     Safe Harbor, the prorated amount.              I'm sorry, Your
10    Honor.    There's a local rule that -- what's --
11    1500?    If he doesn't --
12               MR. BROOKS:        4,500.
13               MS. TEMPONE:        If he --
14               MR. BROOKS:        My fee, 3,000.        Oh, no, no,
15    no.   I got 2,000 up front, so I'd get 2,500.
16               MS. TEMPONE:        It would be a portion of
17    the Safe Harbor that he would receive if the case
18    was dismissed prior to confirmation, Your Honor.
19    So if he went forward on the application for
20    compensation, it could potentially be more of a
21    prorated distribution.
22               THE COURT:        Okay.   All right.       So do you
23    have any objection to the application for
24    compensation as amended?
25               MS. TEMPONE:        Your Honor, we just would


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     Case 22-14766-SMG    Doc 101   Filed 01/27/23   Page 15 of 27



                                                                     1-15
1     like to make the Court aware that Mr. Sanders's
2     prior Chapter 13 attorney received $4,640 paid in
3     full, and per the -- per the order entered at ECF
4     30, the debtor's ore tenus request for a refund of
5     those fees was denied, so we have a Chapter 13
6     case that we're well above the debtor paying Safe
7     Harbor fees.       We're just making the Court aware
8     and we'll defer to the Court.
9                I understand Mr. Brooks has done a lot
10    of work in the case.          He's only been the -- he
11    only appeared in the case about a month ago in
12    November, but he has articulated that he has done
13    quite a bit of work, and he attached a retainer
14    agreement showing that the debtor was agreeing to
15    these fees, so we would defer to the Court with
16    regards to Mr. Brooks's compensation request.
17               THE COURT:         Okay.   And then what about
18    his request to withdraw?
19               MS. TEMPONE:         Your Honor, we would defer
20    to the Court, Your Honor.
21               THE COURT:         Okay.   All right.       Mr. Kelly,
22    do you wish to be heard on the -- Mr. Brooks's
23    motion to withdraw or his fee application?
24               MR. KELLY:         We have no opposition to
25    either, Your Honor, with respect to the mortgage


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     Case 22-14766-SMG   Doc 101   Filed 01/27/23   Page 16 of 27



                                                                    1-16
1     company.
2                THE COURT:        All right.       And then what
3     about all of the confirmation deficiencies
4     outlined by Ms. Tempone?         What's your position?
5                MR. KELLY:        So, at least with respect to
6     the lender, this plan, the latest iteration
7     provides for us to be treated outside, which we
8     believe is appropriate in line with many of the
9     reasons that Attorney Brooks stated, and so we
10    would not have an issue with the plan confirming,
11    because it would allow everything to essentially
12    move forward again in state court.
13               I do want to take just a brief moment to
14    correct something I stated on the record during
15    the trustee's portion of the calendar, because I
16    thought that the stay relief motion was set for
17    hearing, so I made some statements to that effect
18    and I apologize.      I was incorrect about that.
19               There had been responses filed to the
20    motion, but even though it's not before Your
21    Honor, I would join in some of the comments from
22    the debtor's present counsel in that that does
23    appear to be appropriate, to the extent there are
24    these massive title issues, and I'm not as
25    informed about the substance of them, but those

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     Case 22-14766-SMG   Doc 101   Filed 01/27/23   Page 17 of 27



                                                                    1-17
1     would appear to be state court issues for the
2     parties to deal with, either in that foreclosure
3     proceeding or elsewhere, but I don't see a
4     mechanism before Your Honor to deal with that, and
5     especially so when there's no payments being made
6     towards this lender.
7                I'm going a little bit farther than Your
8     Honor's question and back to -- coming back to the
9     plan.   We're treated outside, so we don't really
10    have a substantive opposition to confirmation, but
11    there seems to be more swirling around than just
12    that issue.
13               MR. BROOKS:        And the only -- the only
14    issue holding up confirmation is the fee app.
15               THE COURT:        That's it.       Ms. Tempone,
16    there's no other problems with confirmation?
17    Other -- well, other than that I guess it's stated
18    Mr. Sanders doesn't want --
19               MR. BROOKS:        Right.
20               THE COURT:        -- potentially doesn't want
21    to go forward with confirmation, right?
22               MS. TEMPONE:        Yes, Your Honor, and
23    that's a big reason for us.
24               THE COURT:        All right.       So all right.
25               Mr. Sanders, go ahead and unmute

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     Case 22-14766-SMG   Doc 101   Filed 01/27/23   Page 18 of 27



                                                                    1-18
1     yourself.
2                 MR. SANDERS:       Okay.    Sorry, Your Honor.
3                 THE COURT:       Yes.
4                 MR. SANDERS:       Sorry.     I've been working
5     on this for the past couple years.              To start with,
6     my bankruptcy case 19-24331 but I notice the land
7     in back of the house and my neighbors' homes all
8     started to disappear.         The issue with my house
9     became quite obvious.
10                I'm willing to bow to whatever the Court
11    decides is the best interest to myself, but also
12    to my neighbors.
13                Now, Mr. Kelly, you have some -- your
14    clients, a lot of the mortgages in my neighborhood
15    are -- have the same issue.            People can't even
16    sell their homes because of the land issue.
17                I'm sorry.       I'm getting a slight bit
18    distracted here
19                THE COURT:       Right.    So hold on.       Hold
20    on, Mr. Sanders.
21                MR. SANDERS:       Well, that would be --
22                THE COURT:       Hold on, Mr. Sanders, all
23    right?   Let's focus on the issues before me today,
24    and I know we've had other hearings and you've
25    filed some papers, and I think Mr. Brooks really

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     Case 22-14766-SMG   Doc 101   Filed 01/27/23   Page 19 of 27



                                                                    1-19
1     did a very nice job of summarizing a very complex
2     title dispute, okay?
3                So but what's before me today is a
4     Chapter 13 plan was filed on your behalf, that but
5     for considering Mr. Brooks's fees, I believe there
6     is no objection to it being confirmed, other than
7     the representation by Mr. Brooks in his motion to
8     withdraw, that you do not want the plan to be
9     confirmed.
10               So do you or do you not wish to proceed
11    with confirmation of your plan?
12               MR. SANDERS:       Your Honor, I'm hearing
13    here, also from Mr. Kelly, is that the insurance
14    -- I'm scared they're going -- trying to find a
15    place to live right after this, once I saw the
16    relief from stay.
17               I've had -- okay.         Confirmation of plan,
18    Mr. Kelly comes in, I go with Mr. Brooks, I defer
19    to him.   I apologize.
20               What they're looking at is 800 a month
21    plus whatever additional monies per month, and I'm
22    getting hit with -- I spent about $12,000 in
23    lawyer's fees, other's fees, so far this year just
24    on this area.      Hired title insurance attorneys,
25    law firms.    I paid Charles Knox (ph) 3,000 to

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     Case 22-14766-SMG   Doc 101   Filed 01/27/23   Page 20 of 27



                                                                        1-20
1     investigate the issue.         They determined that's --
2     there is validity and that the City of Plantation
3     has to be involved -- brought in as one of the
4     defendants.    So I've had South Water Management
5     come in and say the area is a mess because the
6     setback.   The city has 20 feet, South Water
7     Management has 40 feet.
8                THE COURT:        Okay.   All right.
9                MR. SANDERS:        The buildings are --
10               THE COURT:        Mr. Sanders.       Mr. Sanders, I
11    need to --
12               MR. SANDERS:        Okay.    Sorry.
13               THE COURT:        -- I need -- hold on.            I
14    need to stop you again.
15               And look, ultimately if you -- well,
16    Mr. Brooks wants to withdraw if -- so I want to
17    know if you oppose that and I want to know if you
18    want to pursue confirmation of your plan.                Now --
19          (Off the record from 4:04:10 to 4:09:10)
20               MR. SANDERS:        Mr. Brooks, I wish you
21    didn't do it.      I don't know what -- as far as on
22    the legal side, there's no way I know everything
23    that's out there.      I mean, for this case, some of
24    the areas the way you describe it, I'm more of a
25    detailed person.      You say like, this attorney,

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     Case 22-14766-SMG    Doc 101   Filed 01/27/23   Page 21 of 27



                                                                     1-21
1     what attorney, what did he do?             I don't know those
2     things.   I've already been burned a few times
3     already and I'm just scared.
4                Mr. Brooks, I wish that you would stay
5     and I got the referral to you from Louis.                 So I
6     was originally working with Attorney Louis, and he
7     directed me to you for work.            So I have no issues
8     with Louis.    Just when Louis became unavailable
9     because he was the key plan for when -- once you
10    get from (indiscernible) a plan, I needed an
11    attorney out in the non-federal, in the state
12    courts.   Louis was supposed to be that place.
13               THE COURT:         Okay.   All right.
14               MR. SANDERS:         He had --
15               THE COURT:         All right.       All right, Mr.
16    Sanders, let me stop you.
17               MR. SANDERS:         Okay.
18               THE COURT:         All right?       I gave you the
19    opportunity.       I haven't heard any valid legal
20    basis that is sufficient to defeat Mr. Brooks's
21    motion.
22               So, Mr. Brooks, I will grant your motion
23    to withdraw.       You may submit an order on that.
24    Please again, as with Mr. Rossoletti, take a look
25    at that order, include just for everybody's

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     Case 22-14766-SMG   Doc 101   Filed 01/27/23   Page 22 of 27



                                                                    1-22
1     benefit, Mr. Sanders's last known address for
2     service, and if Ms. Tempone, Mr. Kelly don't have
3     it, his email address and phone number.                Please
4     email that to them.        Don't put it in the order.
5     So just put his physical address in the order, any
6     dates and deadlines he needs to be aware of.
7     Okay?   So that took care of those two.
8                Now on confirmation, it sounds like
9     Mr. Sanders does want his plan to be confirmed.
10    So, Ms. Tempone, with that statement, it sounds
11    like the plan is confirmable, correct?
12               MS. TEMPONE:       Your Honor, the plan --
13    the third amended plan filed at ECF60, it pays 100
14    percent to the general unsecured creditors, which
15    is $6,402.40, and it also pays Mr. Brooks's
16    outstanding fees of $5,000.          So it just -- I'm
17    just --
18               MR. BROOKS:       That's it.
19               MS. TEMPONE:       -- stating it for the
20    record and Mr. Sanders that his payments, months 1
21    through 4 of the plan, were $1,470.81, and months
22    5 through 60 of the plan, the monthly ongoing
23    payments, are $400.57.        At this time, Your Honor,
24    the plan appears to be confirmable, and if Mr.
25    Sanders is agreeing with the terms of the plan, we

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     Case 22-14766-SMG   Doc 101   Filed 01/27/23   Page 23 of 27



                                                                    1-23
1     can recommend confirmation.
2                THE COURT:        All right.
3                Mr. Sanders again, last time, last chance.
4     You agree to go forward with confirmation?
5                MR. SANDERS:        Yes, Your Honor.
6                THE COURT:        Okay.    Any objections to
7     confirmation?      Hearing none, I will confirm the
8     third amended plan.
9                Ms. Tempone, you'll submit an appropriate
10    order on that.
11               MS. TEMPONE:        Yes.    Yes, Your Honor.
12    It's a request to confirm that we -- it's a docket
13    entry that's filed to request for Confirmation, and
14    then an order will be subsequently entered after
15    that.
16               THE COURT:        Okay.    Very good.      And then
17    the last thing is, there is pending a motion for
18    stay relief, which I had not set for a hearing yet,
19    pending resolution of the withdrawal of counsel
20    issue.
21               Mr. Sanders, I can hear the motion for
22    stay relief -- and Mr. Sanders and Mr. Kelly, next
23    week.    Or if you want -- if there's a resolution to
24    be agreed to now and nobody objects, I will
25    entertain it now.      Otherwise, I think I would set

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     Case 22-14766-SMG   Doc 101   Filed 01/27/23    Page 24 of 27



                                                                       1-24
1     it for a hearing next week.
2                MR. BROOKS:        Judge, there is a resolution.
3                THE COURT:        There is.        All right.       Mr.
4     Brooks?
5                MR. BROOKS:        The Confirmation order grants
6     all secured creditors relief from stay, and any
7     kind of motion for relief from stay would be a
8     comfort order.
9                THE COURT:        Okay.
10               MR. BROOKS:        So if you want to grant a
11    comfort order, I don't think there can be an
12    objection to that.      I think that it's in Mr.
13    Sanders's benefit to allow this to go to state
14    court so that the state court attorney can get the
15    title insurance attorney to get in there and Mr.
16    Sanders can ride the back of that -- of that title
17    insurance attorney.
18               THE COURT:        Okay.   That's very helpful,
19    Mr. Kelly.
20               Any objection to submitting an order
21    granting your motion for stay relief?
22               MR. KELLY:        No objection, Your Honor.
23               THE COURT:        All right.
24               Ms. Tempone?
25               MS. TEMPONE:        No, Your Honor, no

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     Case 22-14766-SMG   Doc 101   Filed 01/27/23    Page 25 of 27



                                                                      1-25
1     objection.
2                THE COURT:        All right.
3                And, Mr. Sanders, any objection?
4                MR. SANDERS:        No, Your Honor.
5                THE COURT:        Okay.
6                MR. SANDERS:        Mr. Kelly, do you
7     (indiscernible) that the homes in the area were
8     built without permission of the Broward County
9     Commission.
10               THE COURT:        Okay.   Mr. Sanders, you --
11               MR. SANDERS:        Okay.
12               THE COURT:        -- have to stop.         That's not
13    for this --
14               MR. SANDERS:        I'm sorry.
15               THE COURT:        -- court.        Okay?
16               All right.        So, Mr. Kelly, you can give
17    me --
18               MR. SANDERS:        Sorry.
19               THE COURT:        -- you can give me an order
20    on your motion for stay relief granting it.                    Okay?
21               MR. KELLY:        Okay.   And we'll reference
22    today's hearing.
23               THE COURT:        Yes, please.        Okay.
24               MR. KELLY:        In that order.        Thank you.
25               THE COURT:        All right.        So I think

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     Case 22-14766-SMG   Doc 101   Filed 01/27/23   Page 26 of 27



                                                                    1-26
1     that's everything in this case.
2                Mr. Sanders, I wish you luck.              This
3     sounds like a very complicated issue.               I'm sorry
4     I'm not the right court to resolve it.               I wish you
5     luck in trying to resolve it in the state courts.
6                And, Mr. Brooks, I frankly can't thank
7     you enough for jumping in here and trying your
8     best to help Mr. Sanders and sort out this really
9     unfortunate mess, and so I thank you for your
10    contribution here.
11               And, Mr. Sanders, I hope you find
12    counsel to help you in the state court and you can
13    proceed forward.      Okay? So that concludes the
14    Sanders hearing.
15               Ms. Tempone, anything else?
16               MS. TEMPONE:        That's it, Your Honor.
17               THE COURT:        All right.       Well, thank you.
18    Thank you all.     All right.
19               MR. BROOKS:        Thank you, Your Honor.
20               THE COURT:        All right.       Well --
21               MS. TEMPONE:        Thank you, Your Honor.
22    Happy holidays.
23               THE COURT:        Happy holidays to everybody.
24               Court is in recess.          Thank you.
25    (WHEREUPON, the hearing was concluded at 4:15 p.m.)

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     Case 22-14766-SMG   Doc 101   Filed 01/27/23   Page 27 of 27



                                                                    1-27
 1                   C E R T I F I C A T I O N
 2

 3               I, Nancy B. Gardelli of Acorn Transcripts,
 4    LLC., hereby certify that the foregoing is a
 5    correct transcript, to the best of my ability from
 6    the official electronic sound recording of the
 7    proceedings in the above-entitled matter.
 8

 9

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11

12

13    /s/                                DATE:      January 27, 2023
14    Nancy B. Gardelli
15    Acorn Transcripts, LLC
16    3572 Acorn Street
17    North Port, FL     34286
18

19    My commission expires: 6/28/2023
20

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